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                      IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF IDAHO

SENOBIO PADILLA-ARREDONDO,

               Plaintiff,                            Case No. 1:18-CV-025-BLW

       v.                                            MEMORANDUM DECISION
                                                     AND ORDER

KIERAN DONAHUE, SHERIFF OF
CANYON COUNTY; CANYON COUNTY, in
their official capacities,

               Defendants.



                                    INTRODUCTION

       The Court has before it plaintiff’s application to proceed without payment of fees.

For the reasons explained below, the Court will grant the application.

                                        ANALYSIS

       The Court is required to screen complaints brought by litigants who seek in forma

pauperis status. See 28 U.S.C. § 1915(e)(2). Plaintiff’s Complaint, or a portion thereof,

will be dismissed if it: (1) is frivolous or malicious; (2) fails to state a claim upon which

relief can be granted; or (3) seeks monetary relief from a defendant who is immune from

such relief. See 28 U.S.C. § 1915(e)(2)(B)(i-iii). To state a claim upon which relief can

be granted, plaintiff’s Complaint must include facts sufficient to show a plausible claim

for relief. See Ashcroft v. Iqbal, 556 U.S. 662, 677-78 (2009).


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       In this case, plaintiff complains that he was detained for about two months in the

Canyon County jail despite his frequent attempts to tender the full amount of the bond

ordered by the court to secure his release. He has named as defendants Canyon County,

and Kieran Donahue, the Canyon County Sheriff, in his official capacity only. The

complaint has three counts, two brought under § 1983 and the third brought under Idaho

law. The first two counts are for violation of plaintiff’s constitutional rights to due

process and to be free of unreasonable seizure; his third claim is for false arrest and

imprisonment under Idaho law. On his first two claims, he seeks compensatory damages

while on his third claim he seeks “non-economic losses.”

       The Court cannot find that this action is frivolous or seeks monetary relief from a

defendant who is immune from liability. See Eason v. Clark County, 303 F.3d 1137,

1141 (9th Cir. 2002) (holding that Eleventh Amendment immunity does not extend to

counties). However, the action against Sheriff Donahue in his official capacity as

Canyon County Sheriff is essentially an action against Canyon County, rendering

duplicative the action against both him and the County. See Brandon v. Holt, 469 U.S.

464, 471-72 (1985). Thus, dismissal of Sheriff Donahue is warranted, and the Court will

so order.

       The plaintiff’s affidavit establishes his indigency and so the Court will waive the

filing fee.

                                          ORDER



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      In accordance with the Memorandum Decision set forth above,

      NOW THEREFORE IT IS HEREBY ORDERED, that the Application to Proceed

in Forma Pauperis (docket no. 2) is GRANTED.

      IT IS FURTHER ORDERED, that defendant Kieran Donahue, Sheriff of Canyon

County, be DISMISSED as a party defendant.

      IT IS FURTHER ORDERED, that the Clerk shall randomly reassign this case to a

Magistrate Judge.



                                             DATED: February 7, 2018


                                             _________________________
                                             B. Lynn Winmill
                                             Chief U.S. District Court Judge




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